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               January 9,2015




               Jean Brandl
               Brandl Law, LLC
               3L0 Fourth Ave. S., Ste. 5010
               Minneapolis, MN 55415

               Cc: Manny Atwal, Office of      the Federal Defender

               Dear Jean

               I am writing at your request, to propose a solution to a number of concerns surrounding
               your client, Mr. Abdullahi Yusuf. With your help, and the articulated support of several
               leaders from the Somalicommunity, we have developed a plan that would integrate Mr.
               Yusuf into an established, seasoned, and long-term program to foster his connections to
               his future and his community, here in the United States. This program would assist him,
               along with his friends and peers, in learning about and recognizing what positive
               outcomes lie in seeking and attaining civic and educational goals conducive to a healthy
               and fulfilling life.

              We understand that Mr. Yusuf's family, the Somali community, the Court, you and your
              client all share the concerns about young Somali-Americans becoming disaffected with,
              and disengoged from, their lives here in the United States and finding themselves lured
              by manipulative, violent extremists, who are cleverly recruiting vulnerable young people
              and promoting destructive ideology, both on-line and in person, here and in other lands.

              We share the goals you have articulated, which stem from the details of this case and
              others like it: prevent young people like Mr. Yusuf from even being attracted to
              information and groups spouting such violent means and goals as lSlL; establish a cohort
              for Mr. Yusuf and others, which supports their particular and individual needs cultural,
                                                                                             -
              educational, vocational, and social; ensure connections and mentoring to solidify
              relationships between these teens and adults who understand them and their journey;
              work to re-engage parents of these young adults with their children, by creating a
              similar cohort for them, to connect with one another and their teens, to improve
              language and cultural skills, to increase civic engagement among the adults in the
              somali community while promoting similar themes with the young people.




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As you know, our organization, Heartland Democracy, is an educational      non-profit
organization, a registered 501(c)3, based in the Twin Cities. From the start of our
program called Empowering lJ in 2007, Heartland Democracy's Board of Directors and
staff have agreed that we should seek participants from our neighbors least involved in
community and politics. Second, we were convinced from the beginning that a focus on
youth was wise, since youth are best able to absorb the lessons of Empowering U and
act upon them. Those twin areas of focus led us to youth who have known the hardship
of poverty, discrimination, and related challenges, which, in turn, led us to offer
Empowering U to organizations serving low-income immigrants of color. We appreciate
your confidence in our past work, and that you approached us to pursue a common plan
to aid Mr. Yusuf and his peers.

Recognizing that several Somali-American teens had gotten caught up in terroristic
networks moving between Minnesota and Somalia, we also wished to offer Empowering
U to Somali-American youth programs in particular, with the thought that youth
involved in Empowering U would have a better chance of avoiding the lure of
extremists. We have brought the program to communities throughout the Twin Cities
and plan to scale up across Minnesota and, in time, the Midwest, the nation, and
beyond.

We have recelved funding for this aspect of our work from the Minnesota Humanities
Center, which administered grants mandated by the Minnesota Legacy Amendment.
We faunched our program at Skyline Towers with Somaliteens early in ZOL3,so we have
been able to adapt and adjust our work according to the needs of this specific
population.

We understand the concerns of the Court, Judge Davis, and the United States Attorney
Andy Luger, and believe we can address what Mr. Luger has called "the root causes of
radicalism" by creating personal and deep connect¡ons between these youths and their
own values, their own voices, and their own communities.

It was my understanding that Judge Davis asked for a plan to have the Somali
community elders help to supervise Mr. Yusuf if he is released. I took that into
consideration in devising this particular plan, but we intend for this program to expand
to the broader Somali community.

On December L8, 2OI4, as we met with elders, leaders, and imams from the Somali
community, we explained our plan going forward and asked for their input, support, and
partnership. We heard their concerns about the generation gap between their teenage
children and the parents in the community. We listened as they talked about how
frequently these young people were engaged in activities of concern to all parents:
skipping school, not attending religious services or education, lack of employment or
plans for the future, petty crime and worse. We heard, as you know, their own desires
to engage more with the wider civic community, devise constructive ways of addressing

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the needs of the Somali families, and to learn about the American systems and
institutions.

We also discussed our intentions. We agree with Mr. Luger that "this is not about
gathering intelligence, or expanding surveillance. We want to 'prevent'   so that we're
                                                                          -
not back in this same room five or L0 years from now addressing the same issues." We
continually stress this understanding to our new partners. We believe we have
established a strong connection in our partner, African lmmigrants Community Services,
and its leadership, Mustafa Hassan, Executive Director, and Rashid Hassan, Senior
Program officer, after an extensive meeting with them on December 23,20L4.

As you, your colleagues, and Judge Davis are all aware, the somali-Americans in
Minnesota are a large, geographically dispersed community of over 30,000 people, who
have been emigrating to the U.S. since late 1991. One challenge is that this is not an
organized community with a centralized leadership structure. While many newly-
arrived Somalis live in the Twin Cities, often engaged in refugee resettlement programs
in Minneapolis and st. Paul, and centrally living in the Riverside or Midway
neighborhoods, many earlier immigrants are now living in Twin Cities suburbs like Mr.
Yusuf - Inver Grove Heights, Eagan, and savage have large somali-American
populations. Like most immigrant communities, the challenges these families face are
many: poverty, lack of adequate housing, language barriers, high unemployment, legal
issues, and parents who are absent or working extremely long hours. Many of the
Somali parents we work and talked with expressed the need for specific parenting
training so that parents are better equipped to recognize the signs of a seriously
disaffected, angry, or depressed teen. Much of this information is readily available, and
we know how to address many of these issues before they lead to a teen leaving his/her
community.

We recognize, as we know you do, that attracting and retaining the attention of teens is
difficult. Most are not refugees anymore; state services only cover the first 5 years in
this country, and many teens have been here much longer than that. Small community
and foundation grants can serve a few teens, but often these programs are focused on
adults and systems within the schools. Many of these teens are out of the school
system, have aged out of many programs, are "infrequent attenders" if they are
enrolled in high school, and are often unemployed. As with many teens, these feel their
homes are too small, crowded, and that they are expected to help with younger siblings
and the household, which can prove challenging for many young people.

Sadly, the pull of foreign campaigns, romantic notions of a common cause abroad, is
something some teens find attractive, a way out of their isolation, their disengagement,
and their confusion. Like many teens, Somali-American teens are dealing with mental
health issues, educational struggles, poverty, trauma, and a lack of incentive. ln
addition, it is common for cultural gaps to heighten and expose even more complex
feelings of isolation, because of the challenge of integrating with their non-Somali peers,

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of strained relationships with parents over cultural and religious issues, and increasing
awareness of financial pressures on them and their families.

Our program, as we presented it to the Somali leaders and our potential partners at
African lmmigrants Community Services, was received with great enthusiasm and high
praise. We are optimistic about the progress we might make if given the resources to
move forward. Fortunately, our program is completely scalable, and we can address the
immediate and short-term needs of Mr. Yusuf individually while still exploring ways to
support a broader expansion of this program.

Heartland Democracy's Empowering U

Empowering U's overall goal is to boost and sustain civic empowerment, engagement,
and leadership among its participants over the long term in order to improve the civic
system at all levels and thereby aid the regional economy. ln our coaching of Somali -
American teens, our coach(es), working with trained and trainee coaches from our
partner organization, will guide participants toward discovering their own motivation to
engage in civic affairs, along with the tools to do so.

Obiectives

       L. coach our youth in deep and sustained       civic empowerment and "real" civics
             made accessible, experiential, and multi-dimensional through the
             Empowering U curriculum and the coaching method.
       2.    Train at least one new coach on the staff of each partn er in Empowering lt to
             heighten chances that each partner organization will continue to offer the
             program once the initial cohort ends, establishing a longer-term relationship
             between the teens and their resident coach/mentor.
       3.    Continue to adapt, develop, expand, and diversify the curriculum and
             associated resources for youth from immigrant families and somali-
             Americans in particular.
       4.    Adapt and further refine evaluation tools for New Americans in general and
             immigrants from the Horn of Africa in particular to measure and report on
             impact.
       5.    Capture and use results to report on the program's effectiveness and sustain
             it beyond the initial program period, using earned and social media,
             academic partners, and US Attorney's office.



Empowering U uses the Socratic method. Our questions, nuggets of information and
occasional analyses cause enough self-examination and self-education to lead
participants toward their own discoveries and revelations. [Please see attached
selection from our curriculum, on Framing.] Participants rate the program very highly in
these respects.

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We provide a coach who shares the background of the participants as closely as
possible. The coach brings to the program his or her own experiences and lessons
learned. Coaches adapt the curriculum to the level of education each cohort
demonstrates. Every session, the coach draws a bold vector from external institutions
and decisions to the participant in the room: here are the ways in which the civic world
affects your life in concrete ways every day of your life. This process overcomes the
natural supposition that, "nothing in community, politics, or government affects me."
We draw arrows back from the participant to the world, counteracting the belief that
"nothing I do has any impact on those large institutions."

Education and employment, job-seeking and life skills are key components of our
curriculum. Minnesota's demographers estimate that only 49 percent of the Somali-
born population between the ages of 16 and 64 are working, and this challenge needs to
be addressed in order to meet any of the goals we all have for this population. Our
students map out the economy, the educational system, American government, the
worlds of power and politics, and the media, for example. we draw connections
between these institutions and systems and the networks needed to find first jobs,
internships, educational opportunities, financial support, and a stable future.

Finally, we challenge participants to get involved with a specific organization on an issue
that matters to them. We help them find contacts and connections with that issue. We
carefully craft field trips and guest speaker visits, so the students get to meet the real
world during their Empowering U experience. lf we have funding and a willing cohort
and host, we coach the group as they take on their own project - practicing the art of
community activism.

Program Specifics

While many people inside and outside the Somali community see a need for goal-
specific programs, there has been a series of general or vague programs proposed and
slow movement in realizing goals. Several organizations have been involved in
discussions with the us Attorney's office, and a white House summit has been
proposed, but there has been no concrete movement toward accomplishing those
goals. Conversely, we have a program that we have seen work; we have partners and
staff at the ready.

We propose:

   1) Partnering  with African lmmigrants Community Services to immediately launch
       an Empowering U program of at least 6 weeks in length, with a cohort of L0-15
       Somaliteens. This group, to include Mr. Yusuf upon release, would meet with
       one Heartland Democracy coach and one AICS-identified coach-in-training, at a
       location deemed convenient for Mr. Yusuf, hopefully Inver Grove Heights


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      Community College, which Mr. Yusuf attended prior to his arrest, and with
      whose president, Tim Wynes, we already have a connection.
   2l lncluding with this program an on-going and parallel program for parents and
      other adults in the Somali community, which would include along with the civics
      and civic engagement curriculum parenting skills and information regarding the
      concerns but additional services as funding allows - ESL, child care,
      transportation, community and educational information.
   3) Augmenting the original Empowering U curriculum with elements as advised and
      emphasized by Somali leaders, including cultural and religious content;
      conversations with Somali community, business, and elected leaders;
      educational and life-skills material.
   4) Expanding/re-launchlng Empowering U at relevant sites in the Twin Cities,
      including Skyline Towers (where Empowering U ran in 2013), Cedar-Riverside
      neighborhood (home of AICS,) Lincoln lnternational High School (where AICS
      runs other programs,) and Wellstone lnternational High School. Ensure
      participation, as Heartland did at Skyline, of both young men ond women lrom
      the Somali-American community.
   5) Utilizing Heartland coaches and training Somali-American coaches to establish
      program guidance from Somali and non-Somali adults.
   6) lncorporating inspiring and energizing field trips and guests into the curriculum
      to connect teens with "real life" community leaders, both Somali and non-
      Somali. We find it is an amazing experience for teens to have a behind-the-
      scenes look at the workings of the Capitol, or a corporation, or a museum, from
      an engaged staff-member. Many are not aware these institutions are available
      to them. We also promote small group discussions with local leaders, CEOs,
      judges, elected officials, from the business, nonprofit, and public sectors, to help
      teens understand "how things work" and to investigate where future interests
       may lie.
   7l Connecting under-engaged teens with educational, cultural and athletic
      activities, connecting with youth leaders and other teens, to explore
      opportunities beyond what they have been involved with in the past, and finding
      stories and peers that show how a "bridge" can be built between their home
      culture and their new culture.

Community Benefit

We will be working in several concentric circles of community: the teens in the room,
the community in which they live, the larger communities of immigrants and refugees
from the Horn of Africa in the Twin Cities, and, finally the metro area and state of
Minnesota. Empoweríng lJ aids each community, from the teens in the room to the
state of Minnesota, in by addressing some of those fundamental challenges. Social and
civic networks - social, civic, and political capital - yield political power and personal
empowerment as well as improved economic potential and "quolity of liþ." This
phenomenon is well established in sociology now, and it is especially crucial for

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Americans who face socio-political and/or economic hurdles. Sociologist Matthew Lee
looked at variables that influence violent crime in rural areas and found that,
"Communities with high levels of civic engagement [enioy] ... lower poverty and
unemployment rates, higher medion incomes, ond lower violent crime rates."



We would expect to see the following additional results for each of the communities,
from the students as a group outward:

   I    Community engagement and leadership rising among Somali-Americans
   I    A drop in extremist and idiosyncratic views
   I    A rise in health and wellness among the families of our participants
   I    A rise in educational performance
   I    Corresponding drops in the incidence of crime and drug use
   I    ln the long run, a rise in the development of wealth among the community of
        students



Evaluation

Empowering U yields the following results in our evaluations, and we would expect to
achieve them among teenagers at our new partners:
        1. a rising commitment to, and participation in, civic life,
        2. a greater understanding of the political and governmental systems,
        3. a desire to register to vote and to vote, if or when they are eligible to do so,
        4. a clearer understanding of their own values and the views, goals, and roles of
public leaders and other political and governmental actors.

Using a statistical analysis of responses to pre-programmatic and post-programmatic
validated surveys, our evaluator has found, with between 94 and 99 percent certainty,
that participants emerging from Empowering U possess a significantly higher level of
deslre to become involved, stay involved, and make plans for involvement in their
community.

Our independent evaluators will continue to apply, test, and refine their evaluative tools
in our work in 20L5. They will continue to use written surveys, personal interviews,
focus groups - and implement them as requirements at the start and end of every
program in order to improve our ability to measure and report on our impact. Our
basellne and final surveys will show whether there is measurable improvement on
indicators of self-empowerment and knowledge of the governmental and political
systems. Our evaluation model consists of a pre- and post-program survey of leadership
and civic engagement behaviors together with some group conversation about the




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process, lt is known as the Youth Civic Engagement Survey and is a validated tool. The
evaluation measures increases in social and civic leadership knowledge and skills and
changes in social and civic behavior, among other things.

As discussed, we would seek full funding of this program based on what is agreed
regarding scope and timeline. We plan to secure partnership funding from both
government and foundation sources. There is the hope and possibility that start-up
funding could be obtained rather quickly so that an initial, small-scale program could be
launched immedÍately upon the release of Mr. Yusuf, one in which he could
conveniently participate.

We thank you for your interest in our programs. Please let me know if I can be   of
further assistance.

Best regards,




Mary K. cKinley
Executive Director
